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                                          Appendix 1

                  Case Name                 Cause No.      Jurisdiction
          The St. Joe Company v.           1:10-cv-0733     Delaware
          Halliburton
          Bennett, et a. v. BP, plc, et   6:10-cv-00137      EDKY
          al.
          Abadie v. BP, plc., et al.      2:10-cv-02116      EDLA
          Alexie v. HESI, et al.          2:10-cv-01561      EDLA
          Ascension Marine v. BP,         2:10-cv-001857     EDLA
          plc., et al.
          Babin v. BP, plc., et al.       2:10-cv-03300      EDLA
          Bang v. BP, et al.              2:10-cv-02097      EDLA
          Bartol v. BP, et al.            1:10-cv-00195      EDLA
          Bartol, John Taliancich v.      2:10-cv-01489      EDLA
          BP, et al.
          Bayona Corp. d/b/a              2:10-cv-01839      EDLA
          Bayona Restaurant v.
          Transocean Ltd., et al
          Boettner v. BP, et al.          2:10-cv-01764      EDLA
          Brondum v. BP, et al.           2:10-cv-01613      EDLA
          Buras v. BP, plc., et al.       3:10-cv-00369      EDLA
          Captain Charlie                 2:10-cv-01422      EDLA
          Thomason’s Bayou
          Charters, Inc. v. BP, et al.
          Carrone, et al. v. BP, et al.   2:10-cv-01315      EDLA
          CJK Fab & Consulting v.         2:10-cv-02839      EDLA
          BP, et al.
          Cooper, et al. v. BP, et al.    2:10-cv-01229      EDLA
          Copeland’s of New               2:10-cv-01926      EDLA
          Orleans, Inc. et al. v. BP,
          et al.
          Creppel v. BP, et al.           2:10-cv-01346      EDLA
          Cressey v. BP, et al.           2:10-cv-01721      EDLA
          Decatur Hotels, LLC, et al.     2:10-cv-01767      EDLA
          v. BP, et al.
          Derouen v. BP, et al.           2:10-cv-01573      EDLA
          Dinet v. BP, plc., et al.       2:10-cv-01615      EDLA
          Duet, et al. v. BP, et al.      2:10-cv-01519      EDLA
          Dugas, et al. v. BP, et al.     2:10-cv-01322      EDLA



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          Dumas v. BP, et al.             2:10-cv-01348    EDLA
          Dung, Tran Ngoc, et al. v.      4:10-cv-02129    EDLA
          BP, et al.
          Ezell, et al. v. BP, et al.     2:10-cv-01920    EDLA
          Firehouse Restaurant.           2:10-cv-01445    EDLA
          LLC v. BP, et al.
          Floyd, et al. v. BP, et al.     1:10-cv-00445    EDLA
          Friloux, et al. v. BP, et al.   2:10-cv-01246    EDLA
          Gaker v. BP Exploration         2:10-cv-03454    EDLA
          and Production, Inc., et al.
          Galliano, et al. v. BP, et      2:10-cv-02715    EDLA
          al.
          Gautreaux v. BP, plc., et       2:10-cv-01539    EDLA
          al.
          Gulf Crown Seafood, Inc.        2:10-cv-01344    EDLA
          v. BP, et al.
          Inter-Tour Louisiane, Inc.      2:10-cv-02103    EDLA
          d/b/a Tours by Isabelle v.
          Transocean, et al.
          Ivic, et al. v. BP, et al.      2:10-cv-01249    EDLA
          JRKW Enterprises, LLC           2:10-cv-02846    EDLA
          d/b/a Huck Finn’s Café v.
          BP, et al.
          Kansas v. Transocean            2:10-cv-01836    EDLA
          Ltd., et al.
          Le, Tam V., et al. v. BP, et    2:10-cv-02114    EDLA
          al.
          Levy v. Transocean, et al.      2:10-cv-01245    EDLA
          Loupe v. BP, et al.             2:10-cv-02764    EDLA
          Mandina, et al. v. BP, et       2:10-cv-02713    EDLA
          al.
          Nguyen v. BP, et al.            2:10-cv-01741    EDLA
          Nguyen v. BP, et al.            2:10-cv-01855    EDLA
          Nguyen v. BP, et al.            2:10-cv-01852    EDLA
          Nguyen v. BP, et al.            2:10-cv-001850   EDLA
          Nguyen, Cuch, et al. v. BP,     2:10-cv-01314    EDLA
          et al.
          Nova Affiliated, S.A. v. BP,    2:10-cv-01313    EDLA
          et al.




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          Oser v. Transocean, Ltd.,        2:10-cv-01829   EDLA
          et al.
          Parker v. BP et al.              2:10-cv-01411   EDLA
          Phillips v. BP, et al.           2:10-cv-01620   EDLA
          Revenue Properties               2:10-cv-01947   EDLA
          Southland Limited
          Partnership v. BP, et al.
          Richards Seafood Patio, et       2:10-cv-01438   EDLA
          al. v. BP, et al.
          Robin Seafood Inc., et al.       2:10-cv-01314   EDLA
          v. BP, et al.
          Rodrigue, Sr., et al. v. BP,     2:10-cv-01325   EDLA
          et al.
          Russell, Avacato v. BP, et       2:10-cv-02770   EDLA
          al.
          T&D Fishery, et al. v. BP,       2:10-cv-01332   EDLA
          et al.
          Tobatex, Inc. and M.R.M.         2:10-cv-04573   EDLA
          Energy, Inc. v. BP, et al.
          Vath v. BP, et al.               2:10-cv-01273   EDLA
          Verdin, Captain Cherry           2:10-cv-01841   EDLA
          David v. BP, et al.
          Verdin, Captain Irene D.         2:10-cv-01842   EDLA
          v. BP, et al.
          Winnie's Artsy Cafe', LLC        2:10-cv-02820   EDLA
          d/b/a Mahony's Po-Boy
          Shop v. BP, et al.
          Faris, John & Faris              3:10-cv-00222   EDTN
          Properties, LLC II v.
          Transocean, et al.
          Le, Tien, et al. v. BP, et al.   4:10-cv-02619   EDTX
          Tran v. BP, et al.               1:10-cv-00347   EDTX
          Tran v. BP, et al.               1:10-cv-00345   EDTX
          Adventure Sports II, Inc.        2:10-cv-00525   MDAL
          City of Greenville, et al. v.    2:10-cv-00756   MDAL
          BP, et al.
          State of Alabama v.              2:10-cv-00691   MDAL
          Transocean et al.
          Coratella, et al. v. BP, et      8:10-cv-01337   MDFL
          al.
          East Shore Land                  8:10-cv-01316   MDFL
          Development, LLC, et al.
          v. BP, et al.

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          Fago v. BP, et al.              2:10-cv-00346   MDFL
          Galaris, et al. v. BP, et al.   8:10-cv-01319   MDFL
          Gionis, et al. v. BP, et al.    8:10-cv-01318   MDFL
          Gold Fingers Jewelers &         8:10-cv-01317   MDFL
          Gift Shop, Inc. v. BP, et al.
          J.J.S. Properties, Inc., et     8:10-cv-01320   MDFL
          al. v. BP, et al.
          Murphy, et al. v. BP, et al.    8:10-cv-01521   MDFL
          Narcosis, Inc. v. BP, PLC,      8:10-cv-01312   MDFL
          et al.
          Vacation Key West, Inc. v.      4:10-cv-10059   MDFL
          BP, et al.
          1st Rate, LLC v. BP, et al.     2:10-cv-01444   MDLA
          Anderson v. BP, plc, et al.     1:10-cv-00414   NDAL
          Chenault, et al. v.             1:10-cv-1139    NDAL
          Transocean, et al.
          Adams v. BP, et al.             4:10-cv-00306   NDFL
          Capt Ander, Inc. v. BP, et      4:10-cv-00364   NDFL
          al.
          Carswell, et al. v. Lisa        4:10-cv-00486   NDFL
          Echeverri, BP, et al.
          Creech, et al. v.               3:10-cv-00158   NDFL
          Transocean, et al.
          Destin Fishing Fleet, Inc.,     3:10-cv-00160   NDFL
          et al. v. BP, et al.
          Douglass, et al. v.             3:10-cv-00136   NDFL
          Transocean, et al.
          Evans v. BP, et al.             3:10-cv-00207   NDFL
          Harris v. Transocean, et        3:10-cv-00134   NDFL
          al.
          Harris v. Transocean, et        3:10-cv-00129   NDFL
          al.
          Ireland v. BP, et al.           3:10-cv-00317   NDFL
          Kilgore Realty, LLC v.          3:10-cv-00156   NDFL
          Transocean, et al.
          Ocean Reef Realty, Inc. et      3:10-cv-00132   NDFL
          al. v. Transocean
          Holdings, et al.
          Petitjean v. BP, et al.         3:10-cv-00361   NDFL
          Salley, et al. v.               3:10-cv-00133   NDFL
          Transocean, et al.


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          Sandcastle Escapes, L.L.C.      3:10-cv-00184   NDFL
          v. BP, et al.
          Stricker, et al v. BP, et al.   3:10-cv-00229   NDFL
          West, et al. v. BP, et al.      3:10-cv-00274   NDFL
          Billy's Seafood, Inc. v.        1:10-cv-00215   SDAL
          Transocean, et al.
          Blue Water Yacht Sales, et      1:10-cv-00224   SDAL
          al. v. Transocean, et al.
          Bon Secour Fisheries, Inc.      1:10-cv-00206   SDAL
          and Bon Secour Boats Inc.
          v. BP, et al.
          Cotton Bayou Marina, Inc.       1:10-cv-00249   SDAL
          d/b/a Tacky Jack's
          Restaurant v. BP, et al.
          Deupree Outdoor Guide,          1:10-cv-00252   SDAL
          Inc. et al. v. BP, et al.
          Drawdy, et al. v.               1:10-cv-00235   SDAL
          Transocean et al.
          Fishburn, et al. v. BP, et      1:10-cv-00248   SDAL
          al.
          Fishtrap Charters, LLC, et      1:10-cv-00202   SDAL
          al. v. Transocean, et al.
          Ford v. BP, et al.              1:10-cv-00292   SDAL
          Fort Morgan Sales, et al.       1:10-cv-00203   SDAL
          v. Transocean, et al.
          Gulf Shores West Beach          1:10-cv-00213   SDAL
          Investments, LLC, et al. v.
          Transocean, et al.
          Hobson v. BP, et al.            1:10-cv-00341   SDAL
          Jones, Chase, et al. v. BP,     2:10-cv-02165   SDAL
          et al.
          Marine Horizon, Inc. et al.     1:10-cv-00227   SDAL
          v. BP, et al.
          Mason et al. v. Transocean      1:10-cv-0191    SDAL
          et. al.
          Milson v. Transocean, et        1:10-cv-0354    SDAL
          al.
          Mobile Fixture &                1:10-cv-00395   SDAL
          Equipment Company, Inc.
          v. BP, et al.
          Monroe, Paul, et al. v. BP,     1:10-cv-00472   SDAL
          et al.
          Moore, et al. v. BP, et al.     1:10-cv-00293   SDAL


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          Orange Beach Marina,            1:10-cv-00217   SDAL
          Inc. et al. v. Transocean, et
          al.
          Original Oysterhouse,           1:10-cv-00223   SDAL
          Inc., et al. v. Transocean
          Holdings, Inc., et al.
          Pendarvis v. BP, et al.         1:10-cv00218    SDAL
          Simpson, et. al. v.             1:10-cv-00210   SDAL
          Transocean, et al.
          Sunrise Rentals                 1:10-cv-00261   SDAL
          Enterprises v. BP, et al.
          The Fish Market                 1:10-cv-00469   SDAL
          Restaurant, Inc. et al. v.
          BP, et al.
          Vision Bank v. 145, LLC         1:10-cv-00521   SDAL
          and James Dalton (Third
          Party Defendants) v. BP,
          et al.
          Wilkerson, et al. v.            1:10-cv-00201   SDAL
          Transocean, et al.
          Worldwide Interiors v. BP,      1:10-cv-00468   SDAL
          et al.
          Wright et al. v. BP, et al.     1:10-cv-00397   SDAL
          Casablanca Fish Market,         1:10-cv-21694   SDFL
          Inc. v. BP, et al.
          Davis, et al. v. BP, et al.     4:10-cv-10055   SDFL
          Lee v. BP, et al.               4:10-cv-10062   SDFL
          McCarthy v. BP, et al.          4:10-cv-10068   SDFL
          Professional Bars, Inc. et      4:10-cv-10056   SDFL
          al. v. BP, et al.
          Shepardson, et al. v. BP, et    4:10-cv-10054   SDFL
          al.
          Triad Seafood, Inc. v. BP,      0:10-cv-61181   SDFL
          et al.
          Ware v. BP, et al.              4:10-cv-10069   SDFL
          Gay v. Transocean, et al.       3:10-cv-00045   SDGA
          Balius, et al v. BP, et a.l     1:10-cv-00262   SDMS
          Brian Howard’s Charter          1:10cv--00207   SDMS
          Fishing, LLC. v.
          Transocean, et al.
          Capt Kenny Barhanovich          1:10-cv-00258   SDMS
          v. BP, et al.
          Cooley v. BP, et al.            1:10-cv-00391   SDMS

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          Grieshaber v. BP, et al.        1:10-cv-00185   SDMS
          Montagnet v. Transocean,        1:10-cv-00201   SDMS
          et al.
          Nguyen v. BP, et al.            1:10-cv-00241   SDMS
          Nguyen v. Transocean,           1:10-cv-00236   SDMS
          Ltd., et al.
          Parker v. Transocean, et         1:10-cv-174    SDMS
          al.
          Shemper v. BP, et al.           2:10-cv-00138   SDMS
          Wilson, Bobby v. BP, et al.     1:10-cv-00263   SDMS
          Aguilar, et al. v. BP, et al.   1:10-cv-00237   SDTX
          Alpasito, Inc., et al. v. BP,   1:10-cv-00236   SDTX
          et al.
          Arispe, et al. v. BP, et al.    4:10-cv-03197   SDTX
          Cheiu Nguyen, et al. v. BP,     4:10-cv-02625   SDTX
          et al.
          Cheng v. BP,et al.              4:10-cv-02717   SDTX
          Chernin, et al. v. BP, et al.   3:10-cv-00350   SDTX
          Chu v. BP, et al.               4:10-cv-01972   SDTX
          Davis, M. v. Cameron et         4:10-cv-01852   SDTX
          al.
          Do, Liem Do, et al. v. BP,      4:10-cv-02256   SDTX
          et al.
          Gore, et al. v. BP, et al.      3:10-cv-00486   SDTX
          Lam, et al. v. BP, et al.       4:10-cv-02261   SDTX
          Le, Duc Truong, et al. v.       4:10-cv-01971   SDTX
          BP, et al.
          Le, Thum, et al. v. BP, et      4:10-cv-01970   SDTX
          al.
          Mai, et al. v. PB, et al.       4:10-cv-02621   SDTX
          Ngo, et al. v. BP, et al.       4:10-cv-03071   SDTX
          Nguyen, Cindy T., et al. v.     4:10-cv-02030   SDTX
          BP, et al.
          Nguyen, Dong, et al. v.         4:10-cv-01969   SDTX
          BP, et al.
          Nguyen, et al. v. BP, et al.    4:10-cv-02259   SDTX
          Nguyen, et al. v. BP, et al.    4:10-cv-03068   SDTX
          Nguyen, Susie v. BP, et al.     4:10-cv-03072   SDTX
          Nguyen, Xuan et al v. BP,       4:10-cv-01968   SDTX
          et al


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          Pham, et al. v. BP, et al.      4:10-cv-03346            SDTX
          Timmons Restaurant              4:10-cv-03201            SDTX
          Partners, Ltd. d/b/a
          Tony's, et al. v. BP, et al.
          Tran, et al. v. BP, et al.      4:10-cv-03069            SDTX
          Tran, et al. v. BP, et al.      4:10-cv-02624            SDTX
          Tran, Tam v. BP, et al.         4:10-cv-03070            SDTX
          Tran, Thong et al. v. BP, et    4:10-cv-02254            SDTX
          al.
          Van, et al. v. BP, et al.       4:10-cv-02257            SDTX
          Vo, Tung et al. v. BP, et al.   4:10-cv-02622            SDTX
          Brandt, et al v. BP, et al.     2:10-cv-01460             SCD
          Divine Fish House, et al.       2:10-cv-01461             SCD
          v. BP, et al.
          PGKR Enterprises, LLC v.        4:10-cv-01782             SCD
          BP, et al.
          The Litchfield Company v.       2:10-cv-01462             SCD
          BP, et al.
          Callaway v. BP, et al.          1:10-cv-00321            SWAL
          Gaskins v. BP, et al.           2:10-cv-00738           WDLA
          James Fisher, et al. v. BP,     1:10-cv-00421    Circuit Court Baldwin
          et al.                                                  Co., AL
          Walton, et al. v. BP, et al.    4:10-cv-00331   Circuit Ct., Leon County,
                                                                      FL
          Schoest, et al. v. BP, et al.   6:10-cv-00727           WDLA




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                  Case Name                Cause No.      Jurisdiction
          Charles C. Elmer                2:10-cv-1515      EDLA
          Hinton v. Halliburton           1:10-cv-00767     EDVA
          Energy Services, Inc.
          Simcox, Carden v. BP, et        3:10-cv-00514     MDTN
          al.
          Barbers’s Seafood, Inc. v.      4:10-cv-00223     NDFL
          BP, et al.
          Destin, et al. v. BP, et al.    3:10-cv-00141     NDFL
          Emerald Coast Property          3:10-cv-00186     NDFL
          Group, LLP. v. BP, et al.
          Joe Patti Seafood               3:10-cv-00137     NDFL
          Company, et al. v.
          Transocean, et al.
          Le Discount Seafood, Inc.,      5:10-cv-00106     NDFL
          et al v. Transocean, et al.
          Le, Hao, et al. v. BP, et al.   5:10-cv-00124     NDFL
          Merritt & Associates, LLC,      3:10-cv-00191     NDFL
          et al. v. Transocean, et al.
          Nobles, et al. v. BP, et al.    5:10-cv-00126     NDFL
          Raffield Fisheries, Inc., et    5:10-cv-00114     NDFL
          al. v. BP, et al.
          Smiling Fish Cafe, Inc. v.      3:10-cv-00177     NDFL
          BP, et al.
          Ward,et. al. v. BP, et al.      4:10-cv-00157     NDFL
          Water Street Seafood, Inc.      4:10-cv-00162     NDFL
          et. al. v. BP, et al.
          Wood Fisheries, Inc. v. BP,     5:10-cv-00127     NDFL
          et al.
          Schorr, et al v. BP, et al.     1:10-cv-02151     NDGA
          Barber, et al. v. BP, et al.    1:10-cv-00263     SDAL
          Captain Edward Lockridge        1:10-cv-00233     SDAL
          v. BP, et al.
          Crenshaw v. BP, et al.          1:10-cv-00314     SDAL
          Ferguson v. BP, et al.          1:10-cv-00281     SDAL
          Hopkins, et al v.               1:10-cv-00221     SDAL
          Transocean, et al.
          Obie Carlise v. BP, et al.      1:10-cv-00422     SDAL
          Papa Rod, Inc. v. BP, et al.    1:10-cv-00272     SDAL


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           Sea Eagles Fisheries, Inc.      1:10-cv-00238   SDAL
           et al. v. BP, et al.
           Smith, et al. v. BP, et al.     1:10-cv-00200   SDAL
           Townsend et al. v. BP, et       1:10-cv-00369   SDAL
           al.
           Trahan et al. v. BP, et al.     1:10-cv-00198   SDAL
           Alfano v. Transocean, et al.    4:10-cv-10047   SDFL
           All Florida Keys Property       4:10-cv-10051   SDFL
           Management, LLC v.
           Transocean, et al.
           Banks v. Transocean, et al.     4:10-cv-10045   SDFL
           Cochran, et al. v. BP, et al.   0:10-cv-61179   SDFL
           Contender Boats, Inc. v.        1:10-cv-23203   SDFL
           Anadarko, et al
           Danger Corp. v. BP, et al       4:10-cv-10057   SDFL
           Donnell v. Transocean, et       4:10-cv-10048   SDFL
           al.
           Gulf Manufacturing              1:10-cv-23323   SDFL
           Company v. BP, et al
           Key West Tiki Charters,         4:10-cv-10039   SDFL
           Inc. et al. v. BP, et al.
           Moret v. Transocean, et al.     4:10-cv-10043   SDFL
           Olivera v. Transocean, et       4:10-cv-10050   SDFL
           al
           Ortega, et al v. BP, et al      3:10-cv-00193   SDFL
           Parker v. Transocean, et        4:10-cv-10049   SDFL
           al.
           Starchaser, Inc., et al. v.     1:10-cv-21736   SDFL
           BP, et al.
           Three Captains, Inc. v.         4:10-cv-10052   SDFL
           Transocean, et al
           Tracey Acree Construction,      0:10-cv-61180   SDFL
           Inc. et al. v. BP, et al.
           Two Headed Shark, LLC,          4:10-cv-10038   SDFL
           et al. v. Transocean, et al.
           Barker v. BP, et al             1:10-cv-00225   SDMS
           Cajun Maid v. BP, et al.        1:10-cv-00176   SDMS
           Cooley v. BP, et al.            1:10-cv-00391   SDMS
           Daniels, et al. v. Cameron,     1:10-cv-00182   SDMS
           et al.
           Duyn v. Cameron et al.          1:10-cv-00183   SDMS


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           Hopper v. Cameron, et al.        1:10-cv-00173   SDMS
           Pelaez, et al. v. Cameron,        1:10-cv-180    SDMS
           et al.
           Sevel v. BP, et al.              1:10-cv-00179   SDMS
           Staley v. Cameron, et al.        1:10-cv-00181   SDMS
           Thigpen, et al v.BP, et al.      1:10-cv-00280   SDMS
           Trieu v. BP, et al.              1:10-cv-00177   SDMS
           Arias, et al. v. BP, et al.      3:10-cv-00353   SDTX
           Contegni, et al. v.              4:10-cv-01978   SDTX
           Transocean et al.
           Juan Esquivel, et al. v. BP,     1:10-cv-00227   SDTX
           et al.
           Nelson, et al v.                 3:10-cv-00172   SDTX
           Transocean, et al.
           Pappas Restaurants, Inc. v.      4:10-cv-01912   SDTX
           Transocean et al.
           Satchfield v. BP, plc., et al.   4:10-cv-02397   SDTX
           Seta, et al. v. BP, et al.       4:10-cv-02448   SDTX
           ECCO Solutions v. BP, et         3:10-cv-00354   SDTX
           al.
           Gulf King Services, Inc. v.      4:11-cv-00312   SDTX
           BP Exploration and
           Production, Inc., et al.
           Leagre v. BP, et al.             4:10-cv-02446   SDTX.
           Wright, et al. v. BP, et al.     4:10-cv-02088   SDTX.
           O'Bryan, et al v. BP, et al.     3:10-cv-00368   WDKY
           Gaskins v. BP, et al.            2:10-cv-00738   WDLA
           Groomer Seafood, Inc. v.         5:20-cv-00780   WDTX
           BP, et al.




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                   Case Name               Cause No.      Jurisdiction
           Bang v. BP, et al.             2:10-cv-02097     EDLA
           Bayona Corp. d/b/a             2:10-cv-01839     EDLA
           Bayona Restaurant v.
           Transocean Ltd., et al.
           Brondum v. BP, et al.          2:10-cv-01613     EDLA
           Gaker v. BP Exploration        2:10-cv-03454     EDLA
           & Production, Inc., et al.
           Galliano v. BP, et al.         2:10-cv-02715     EDLA
           Inter-Tour Louisiane, Inc.     2:10-cv-02103     EDLA
           d/b/a Tours by Isabelle v.
           Transocean, et al.
           Kansas v. Transocean           2:10-cv-01836     EDLA
           Ltd., et al.
           Mandina v. BP, et al.          2:10-cv-02713     EDLA
           Mandina's of New Orleans       2:10-cv-02712     EDLA
           v. BP, et al.
           Manint v. BP, et al.           2:10-cv-02716     EDLA
           Oser v. Transocean Ltd.,       2:10-cv-01829     EDLA
           et al.
           Richards Seafood Patio, et     2:10-cv-01438     EDLA
           al. v. BP, et al.
           Schaff v. Transocean Ltd.,     2:10-cv-02709     EDLA
           et al.
           Stevenson v. BP, et al.        2:10-cv-01161     EDLA
           T&D Fishery, et al. v. BP,     2:10-cv-01332     EDLA
           et al.
           State of Alabama v.            2:10-cv-00691     MDAL.
           Transocean et al.
           Destin, et al. v. BP, et al.   3:10-cv-00141     NDFL
           Casablanca Fish Market         1:10-cv-21694      SDFL
           Inc. v. BP, et al.
           Nguyen v. Transocean,          1:10-cv-00236     SDMS
           Ltd., et al.
           Brian Howard’s Charter          1:10-00207       SDMS.
           Fishing, LLC. v.
           Transocean, et al.
           Cajun Maid v. BP, et al.       1:10-cv-00176     SDMS.
           Satchfield v. BP, et al.       4:10-cv-02397     SDTX
           Wright, et al. v. BP, et al.   4:10-cv-02088     SDTX


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                  Case Name             Cause No.      Jurisdiction
           Divine Fish House, et al.   2:10-cv-01461      SCD
           v. BP, et al.
           Gulf Manufacturing          1:10-cv-23323      SCD
           Company v. BP, et al.
           The Litchfield Company v.   2:10-cv-01462      SCD
           BP, et al.




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                                           Appendix 4

                   Case Name                Cause No.            Jurisdiction
           Synovus Bank v. Flash           2010-902180     CC of Jefferson Co., AL
           Island Resort, et al, Third
           Party Intervenor v. BP, et
           al.
           James Fisher, et al. v. BP,     1:10-cv-00421    Circuit Court Baldwin
           et al.                                                  Co., AL
           Walton, et al. v. BP, et al.    4:10-cv-00331   Circuit Ct., Leon County,
                                                                       FL
           The St. Joe Company v.          1:10-cv-0733           Delaware
           Halliburton
           Bennett, et a. v. BP, et al.    6:10-cv-00137           EDKY.
           Abadie, et al. v. BP, et al.    2:10-cv-02116            EDLA
           Alexie v. BP, et al.            2:10-cv-01250            EDLA
           Alexie v. Halliburton, et al.   2:10-cv-01561            EDLA
           American Gulf Seafood,          2:10-cv-01970            EDLA
           LLC, et al. v. BP, et al.
           Ascension Marine, Inc. v.       2:10-cv-01857            EDLA
           BP, et al.
           Bang v. BP, et al.              2:10-cv-02097            EDLA
           Bartol v. BP, et al.            2:10-cv-01489            EDLA
           Bayona Corp. d/b/a              2:10-cv-01839            EDLA
           Bayona Restaurant v.
           Transocean, et al.
           Bill's Oyster House, et al v.   2:10-cv-01308            EDLA
           BP, et al.
           Boettner v. BP, et al.          2:10-cv-01764            EDLA
           Bones & Campbell, et al. v.     2:10-cv-03068            EDLA
           BP, et al.
           Brondum v. BP, et al.           2:10-cv-01613            EDLA
           Buras, et al. v. BP, et al.     3:10-cv-00369            EDLA
           Cajun Crab, LLC, et al v.       2:10-cv-01516            EDLA
           BP, et al.
           Cajun Offshore Charters,        2:10-cv-01341            EDLA
           LLC v. BP, et al.
           Capt. Darren Patrick            2:10-cv-01484            EDLA
           Schaff v. BP, et al.
           Captain Charlie                 2:10-cv-01422            EDLA
           Thomason’s Bayou
           Charters, Inc. v. BP, et al.


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           Carrone, et al. v. BP, et al.    2:10-cv-01315   EDLA
           Charles C. Elmer                 2:10-cv-01515   EDLA
           CJK Fab & Consulting v.          2:10-cv-02839   EDLA
           BP, et al.
           Commander v. BP, et al.          2:10-cv-01339   EDLA

           Cooper, et al. v. BP, et al.     2:10-cv-01229   EDLA
           Copeland's of New                2:10-cv-01926   EDLA
           Orleans, Inc., et al. v. BP,
           et al.
           Creppel v. BP, et al.            2:10-cv-01346   EDLA
           Cressey v. BP, et al.            2:10-cv-01721   EDLA
           D&H Outfitters v. BP, et         2:10-cv-01556   EDLA
           al.
           Danzig v. BP, et al.             2:10-cv-01726   EDLA
           Decatur Hotels v. BP, et al.     2:10-cv-01767   EDLA
           Derouen v. BP, et al.            2:10-cv-01573   EDLA
           Dinet v. BP, et al.              2:10-cv-0615    EDLA
           Duet, et al. v. BP, et al.       2:10-cv-01519   EDLA
           Dugas, et al. v. BP, et al.      2:10-cv-01322   EDLA
           Dumas v. BP, et al.              2:10-cv-01348   EDLA
           Dung, Tran Ngoc, et al. v.       4:10-cv-02129   EDLA
           BP, et al.
           Ezell, et al. v. BP, et al       2:10-cv-01920   EDLA
           Firehouse Restaurant. LLC        2:10-cv-01445   EDLA
           v. BP, et al.
           Fishing Magicians                2:10-cv-01338   EDLA
           Charters, LLC v. BP, et al.
           Floyd, et al. v. BP, et al.      1:10-cv-00445   EDLA
           Friloux, et al. v. BP, et al.    2:10-cv-01246   EDLA
           Frischertz v. Halliburton        2:10-cv-01906   EDLA
           Energy Services, Inc., et al.
           Fruge, et al. v. BP, et al.      2:10-cv-01752   EDLA
           Gaker v. BP Exploration          2:10-cv-03454   EDLA
           and Production, Inc., et al.
           Galliano, et al. v. BP, et al.   2:10-cv-02715   EDLA
           Gallo, et al. v. BP, et al.      2:10-cv-02795   EDLA
           Garner v. BP, et al.             2:10-cv-01482   EDLA

           Gautreaux v. BP, et al.          2:10-cv-01539   EDLA
           Greene v. BP, et al.             2:10-cv-04249   EDLA

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           Gregoire v. Transocean, et       2:10-cv-01351   EDLA
           al.
           Gulf Crown Seafood, Inc.         2:10-cv-01344   EDLA
           v. BP, et al.
           Harmon v. BP, et al.             2:10-cv-01931   EDLA
           HB13, LLC v. BP, et al.          2:10-cv-01462   EDLA
           Inter-Tour Louisiane, Inc.       2:10-cv-02103   EDLA
           d/b/a Tours by Isabelle v.
           Transocean, et al.
           Ivic, et al. v. BP, et al.       2:10-cv-01249   EDLA
           J&M Boat Rentals v. BP, et       2:10-cv-01747   EDLA
           al.
           JRKW Enterprises, LLC            2:10-cv-02846   EDLA
           d/b/a Huck Finn’s Café v.
           BP, et al.
           Kansas v. Transocean, et         2:10-cv-01836   EDLA
           al.
           Kunstler, et al v. BP, et al.    2:10-cv-01345   EDLA

           Le, et al. v. BP, et al.         2:10-cv-02114   EDLA
           Le, Tam V., et al. v. BP, et     2:10-cv-02114   EDLA
           al.
           Levy v. Transocean, et al.       2:10-cv-01245   EDLA
           Loupe v. BP, et al.              2:10-cv-02764   EDLA
           Mandina, et al. v. BP, et al.    2:10-cv-02713   EDLA
           Mandina's of New Orleans,        2:10-cv-02712   EDLA
           et al. v. BP, et al.
           Mitchell, et al. v. BP, et al.   2:10-cv-01472   EDLA
           Nguyen v. BP, et al.             2:10-cv-01741   EDLA
           Nguyen v. BP, et al.             2:10-cv-01855   EDLA
           Nguyen v. BP, et al.             2:10-cv-01852   EDLA
           Nguyen, Cuch, et al. v. BP,      2:10-cv-01314   EDLA
           et al.
           Nguyen, Giau v.BP, et al.        2:10-cv-01855   EDLA
           Nova Affiliated, S.A. v. BP,     2:10-cv-01313   EDLA
           et al.
           Oser v. Transocean, et al.       2:10-cv-01829   EDLA
           P&S Restaurant Group v.          2:10-cv-01574   EDLA
           BP, et al.
           Parker v. BP et al.              2:10-cv-01411   EDLA
           Phillips v. BP, et al.           2:10-cv-01820   EDLA


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           Revenue Properties             2:10-cv-01947   EDLA
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           Richards Seafood Patio, et     2:10-cv-01438   EDLA
           al. v. BP, et al.
           Robin Seafood Inc. et al. v.   2:10-cv-01314   EDLA
           BP, et al.
           Robin, et al v. BP, et al.     2:10-cv-01248   EDLA
           Rodrigue, Sr., et al. v. BP,   2:10-cv-01325   EDLA
           et al.
           Russell v. BP, et al.          2:10-cv-02770   EDLA
           Schaff, et al. v.              2:10-cv-02709   EDLA
           Transocean, et al.
           Schmalz, et al v.              2:10-cv-01452   EDLA
           Transocean, et al
           Sophisticated Lady, LLC,       2:10-cv-01387   EDLA
           et al v. BP, et al.
           Stevenson v. BP, et al.        2:10-cv-01611   EDLA
           T&D Fishery, et al. v. BP,     2:10-cv-01332   EDLA
           et al.
           Terrebonne, et al v. BP, et    2:10-cv-01352   EDLA
           al.
           Theriot v. Halliburton         2:10-cv-01560   EDLA
           Energy Services, Inc.
           Tobatex, Inc. and M.R.M.       2:10-cv-4573    EDLA
           Energy, Inc. v. BP, et al.
           Vath v. BP, et al.             2:10-cv-01273   EDLA
           Verdin, Captain Cherry         2:10-cv-01841   EDLA
           David v. BP, et al.
           Verdin, Captain Irene D. v.    2:10-cv-01842   EDLA
           BP, et al.
           Wetzel, et al v. Transocean,   2:10-cv-1222    EDLA
           et al
           Winnie's Arsty Café, LLC       2:10-cv-02820   EDLA
           v. BP, et al.
           Wunstell, et al. v.            2:10-cv-02010   EDLA
           Halliburton, et al.
           Faris, John & Faris            3:10-cv-00222   EDTN
           Properties, LLC II v.
           Transocean, et al.
           Tran v. BP, et al.             1:10-cv-00347   EDTX
           Tran v. BP, et al.             1:10-cv-00345   EDTX



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           Le, Tien, et al. v. BP, et al.   4:10-cv-02619   EDTX.
           Hinton v. Halliburton            1:10-cv-00767   EDVA
           Adventure Sports II, Inc.        2:10-cv-00525   MDAL
           City of Greenville, et al. v.    2:10-cv-00756   MDAL
           BP, et al.
           State of Alabama v.              2:10-cv-00691   MDAL
           Transocean et al.
           Coratella, et al. v. BP, et      8:10-cv-01337   MDFL
           al.
           East Shore Land                  8:10-cv-01316   MDFL
           Development, LLC, et al v.
           BP, et al.
           Fago v. BP, et al.               2:10-cv-00346   MDFL
           Galaris, et al. v. BP, et al.    8:10-cv-01319   MDFL
           Gold Fingers Jewelers &          8:10-cv-01317   MDFL
           Gift Shop, Inc. v. BP, et al.
           Murphy, et al. v. BP, et al.     8:10-cv-01521   MDFL
           Narcosis, Inc. v. BP, PLC,       8:10-cv-01312   MDFL
           et al.
           Vacation Key West, Inc. v.       4:10-cv-10059   MDFL
           BP, et al.
           Gionis, et al. v. BP, et al.     8:10-cv-01318   MDFL.
           J.J.S. Properties, Inc., et      8:10-cv-01320   MDFL.
           al. v. BP, et al.
           1st Rate, LLC v. BP, et al.      2:10-cv-01444   MDLA
           Simcox, Carden v. BP, et al      3:10-cv-00514   MDTN
           Anderson v. BP, et al.           1:10-cv-00414   NDAL
           Chenault, et al. v.              1:10-cv-1139    NDAL
           Transocean, et al.
           Adams v. BP, et al.              4:10-cv-00306   NDFL
           Barbers’s Seafood, Inc. v.       4:10-cv-00223   NDFL
           BP, et al.
           Capt Ander, Inc. v. BP, et       4:10-cv-00364   NDFL
           al.
           Carswell, et al. v. Lisa         4:10-cv-00486   NDFL
           Echeverri, BP, et al.
           Creech, et al. v.                3:10-cv-00158   NDFL
           Transocean, et al.
           Destin, et al. v. BP, et al.     3:10-cv-00141   NDFL
           Douglass, et al. v.              3:10-cv-00136   NDFL
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           Group, LLP. v. BP, et al.
           Evans v. BP, et al.             3:10-cv-00207   NDFL
           Harris v. Transocean, et al.    3:10-cv-00134   NDFL
           Harris v. Transocean, et al.    3:10-cv-00129   NDFL
           Ireland v. BP, et al.           3:10-cv-00317   NDFL
           Joe Patti Seafood               3:10-cv-00137   NDFL
           Company, et al. v.
           Transocean, et al.
           Kilgore Realty, LLC v.          3:10-cv-00156   NDFL
           Transocean, et al.
           Le Discount Seafood, Inc.       5:10-cv-00106   NDFL
           et al v. BP, et al.
           Le, Hao et al. v. BP, et al.    5:10-cv-00124   NDFL
           Merritt & Associates, LLC,      3:10-cv-00191   NDFL
           et al. v. Transocean, et al
           Nobles, et al. v. BP, et al.    5:10-cv-00126   NDFL
           Ocean Reef Realty, Inc. et      3:10-cv-00132   NDFL
           al. v. Transocean
           Holdings, et al.
           Ortega, et al v. BP, et al.     3:10-cv-00193   NDFL
           Petitjean v. BP, et al.         3:10-cv-00361   NDFL
           Raffield Fisheries, Inc., et    5:10-cv-00114   NDFL
           al. v. BP, et al.
           Salley, et al. v.               3:10-cv-00133   NDFL
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           Smiling Fish Cafe, Inc. v.      3:10-cv-00177   NDFL
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           Stricker, et al v. BP, et al.   3:10-cv-00229   NDFL
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           Water Street Seafood, Inc.      4:10-cv-00162   NDFL
           et. al. v. BP, et al.
           West, et al. v. BP, et al.      3:10-cv-00274   NDFL
           Wood Fisheries, Inc. v. BP,     5:10-cv-00127   NDFL
           et al.
           Destin Fishing Fleet, Inc.,     3:10-cv-00160   NDFL.
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           Schorr, et al v. BP, et al.     1:10-cv-02151   NDGA
           Barber, et al. v. BP, et al.    1:10-cv-00263   SDAL


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           Billy's Seafood, Inc. v.         1:10-cv-00215   SDAL
           Transocean, et al.
           Blue Water Yacht Sales, et       1:10-cv-00224   SDAL
           al. v. Transocean et al.
           Bon Secour Fisheries, Inc.       1:10-cv-00206   SDAL
           and Bon Secour Boats, Inc.
           v. BP, et al.
           Callaway v. BP, et al.           1:10-cv-00321   SDAL
           Captain Edward Lockridge         1:10-cv-00233   SDAL
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           Cotton Bayou Marina, Inc.        1:10-cv-00249   SDAL
           d/b/a Tacky Jack's
           Restaurant v. BP, et al.
           Crenshaw v. BP, et al.           1:10-cv-00314   SDAL
           Deupree Outdoor Guide,           1:10-cv-00252   SDAL
           Inc. et al v. BP, et al.
           Drawdy, et al. v.                1:10-cv-0235    SDAL
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           Ferguson v. BP, et al.           1:10-cv-00281   SDAL
           Fishburn, et al. v. BP, et al.    1:10-cv-248    SDAL
           Fishtrap Charters, LLC et        1:10-cv-00202   SDAL
           al. v. Transocean, et al.
           Ford v. BP, et al.               1:10-cv-00292   SDAL
           Fort Morgan Sales, et al. v.     1:10-cv-00203   SDAL
           Transocean, et al.
           Gulf Shores West Beach           1:10-cv-00213   SDAL
           Investments, LLC, et al. v.
           Transocean, et al.
           Hopkins, et al v.                1:10-cv-00221   SDAL
           Transocean, et al.
           Marine Horizon, Inc. et al       1:10-cv-00227   SDAL
           v. BP, et al.
           Mason, et al. v.                 1:10-cv-00191   SDAL
           Transocean et. al.
           Meyer, et al. v. BP, et al.      1:10-cv-00216   SDAL
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           al.
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           Monroe, Paul, et al. v. BP,      1:10-cv-00472   SDAL
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           Papa Rod, Inc. v. BP, et al.    1:10-cv-00272   SDAL
           Pendarvis v. BP, et al.         1:10-cv00218    SDAL
           Sea Eagles Fisheries, Inc.,     1:10-cv-00238   SDAL
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           Simpson et. al. v.              1:10-cv-00210   SDAL
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           Smith, et al. v. BP, et al.     1:10-cv-00200   SDAL
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           BP, et al.
           Townsend, et al. v. BP, et      1:10-cv-00369   SDAL
           al.
           Trahan, et al. v. BP, et al.    1:10-cv-00198   SDAL
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           and James Dalton (Third
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           Wilkerson, et al. v.            1:10-cv-00201   SDAL
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           Worldwide Interiors v. BP,      1:10-cv-00468   SDAL
           et al.
           Wright, et al., v. BP, et al.   1:10-cv-00397   SDAL
           Jones, et al. v. BP, et al.     2:10-cv-02165   SDAL.
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           Casablanca Fish Market          1:10-cv-21694   SDFL
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           Cochran, et al. v. BP, et al.   0:10-cv-61179   SDFL
           Contender Boats, Inc. v.        1:10-cv-23203   SDFL
           Anadarko, et al.
           Danger Corp. v. BP, et al.      4:10-cv-10057   SDFL
           Davis, et al. v. BP, et al.     4:10-cv-10055   SDFL


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           al.
           Gulf Manufacturing             1:10-cv-23323   SDFL
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           Key West Tiki Charters,        4:10-cv-10039   SDFL
           Inc. et al. v. BP, et al.
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           McCarthy v. BP, et al.         4:10-cv-10068   SDFL
           Moret v. Transocean, et al.    4:10-cv-10043   SDFL
           Olivera v. Transocean, et      4:10-cv-10050   SDFL
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           Parker v. Transocean, et       4:10-cv-10049   SDFL
           al.
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